                      Case:24-01123-swd           Doc #:211-1 Filed: 10/21/2024             Page 1 of 12
 1

 2

 3

 4                                    UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN
 5
      IN RE:                                                       CASE NO: 24-01123-swd
 6
       ORBIT MARKETING, LLC                                        DECLARATION OF MAILING
       HOLLIE RENAE POLI                                           CERTIFICATE OF SERVICE
 7
                                                                   Chapter: 7
 8                                                                 Judge: Honorable Scott Dales


 9

10

11   On 10/21/2024, I did cause a copy of the following documents, described below,
     Trustee's Motion for Authority to Sell Property of the Estate Pursuant to 11 U.S.C. Sec 363(b), Exhibits, Proposed Order
12   and Notice

13

14

15

16

17

18

19   to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
     sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
20   incorporated as if fully set forth herein.
     I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
21   com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
     Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
22   fully set forth herein.
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
23
     served electronically with the documents described herein per the ECF/PACER system.
24   DATED: 10/21/2024
                                                      /s/ Kevin M. Smith
25                                                    Kevin M. Smith P48976
                                                      Attorney for Panel Trustee
26                                                    Beadle Smith, PLC
                                                      P.O. Box 70656
27                                                    Rochester Hills, MI 48307
                                                      248 601 3532
28                                                    ksmith@bbssplc.com
                         Case:24-01123-swd               Doc #:211-1 Filed: 10/21/2024                   Page 2 of 12
 1

 2

 3
                                       UNITED STATES BANKRUPTCY COURT
 4                                      WESTERN DISTRICT OF MICHIGAN
 5
        IN RE:                                                           CASE NO: 24-01123-swd
 6
        ORBIT MARKETING, LLC                                             CERTIFICATE OF SERVICE
        HOLLIE RENAE POLI                                                DECLARATION OF MAILING
 7
                                                                         Chapter: 7
 8                                                                       Judge: Honorable Scott Dales


 9

10

11   On 10/21/2024, a copy of the following documents, described below,

     Trustee's Motion for Authority to Sell Property of the Estate Pursuant to 11 U.S.C. Sec 363(b), Exhibits, Proposed Order
12   and Notice

13

14

15

16

17

18

19
     were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
20   postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
     herein.
21   The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
     referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
22   Service and that it is true and correct to the best of my knowledge, information, and belief.

23   DATED: 10/21/2024


24

25
                                                                  Miles Wood
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Kevin M. Smith
                                                                  Beadle Smith, PLC
28                                                                P.O. Box 70656
                                                                  Rochester Hills, MI 48307
                     Case:24-01123-swd
USPS FIRST CLASS MAILING RECIPIENTS:          Doc #:211-1 Filed: 10/21/2024 Page 3 of 12
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.

FIRST CLASS                               CASE INFO
OFFICE OF THE UNITED STATES TRUSTEE       1LABEL MATRIX FOR LOCAL NOTICING          1ST SOURCE BANK
125 OTTAWA STREET SECOND FLOOR            NCRS ADDRESS DOWNLOAD                     CO JEFFERY A JOHNSON
GRAND RAPIDS MI 49503                     CASE 24-01123-SWD                         MAY OBERFELL LORBER
                                          WESTERN DISTRICT OF MICHIGAN              4100 EDISON LAKES PKWY
                                          MON OCT 21 6-32-41 PST 2024               SUITE 100
                                                                                    MISHAWAKA IN 46545-3467


                                          EXCLUDE
ACAR LEASING LTD DBA GM FINANCIAL         (D)ACAR LEASING LTD DBA GM FINANCIAL      AMERICREDIT FINANCIAL SERVICES     INC DBA
LEASING                                   LEASING                                   GM
P O BOX 183853                            PO BOX 183853                             P O BOX 183853
ARLINGTON TX 76096-3853                   ARLINGTON TX 76096-3853                   ARLINGTON TX 76096-3853




EXCLUDE                                   EXCLUDE                                   EXCLUDE
(U)CEREAL CITY BASEBALL CLUB LLC          (U)CONSOLIDATED ELECTRICAL DISTRIBUTORS   (U)HONOR CREDIT UNION
                                          INC




EXCLUDE                                                                             EXCLUDE
(U)KALAMAZOO BASEBALL CLUB LLC            LAFCU                                     (U)M DEWEY   LLC
                                          ZOUSMER LAW GROUP PLC
                                          MICHAEL I ZOUSMER
                                          4190 TELEGRAPH RD STE 3000
                                          BLOOMFIELD HILLS MI 48302-2082



                                          DEBTOR
NAI WISINSKI OF WEST MICHIGAN             ORBIT MARKETING LLC                       REPOCASTCOM INC
100 CESAR E CHAVEZ AVE SW                 7017 S WESTNEDGE AVE                      CO CHAD MINGERINK
SUITE 100                                 PORTAGE MI 49002-4206                     601 GORDON INDUSTRIAL CT
GRAND RAPIDS MI 49503-4057                                                          BYRON CENTER MI 49315-8356




                                                                                    EXCLUDE
STATE OF MICHIGAN                         (P)WEICHERT REALTORS PLATINUM GROUP       (U)WELLS FARGO COMMERCIAL DISTRIBUTION
MICHIGAN DEPARTMENT OF ATTORNEY GENERAL   ATTN JASON VANASSEN                       FINANCE
PO BOX 30736                              3061 MACATAWA DR SUITE D
LANSING MI 48909-8236                     GRANDVILLE MI 49418-3173




EXCLUDE                                   EXCLUDE
(U)WELLS FARGO VENDOR FINANCIAL           WESTERN DISTRICT OF MICHIGAN              1ST SOURCE BANK
SERVICES LLC                              ONE DIVISION AVE N                        PO BOX 4055
                                          ROOM 200                                  SOUTH BEND IN 46634-4055
                                          GRAND RAPIDS MI 49503-3132




EXCLUDE
(D)ACAR LEASING LTD DBA GM FINANCIAL      AF AUTO GLASS DETAIL                      AUTOOWNERS INSURANCE COMPANY INC
LEASING                                   7325 QUAIL ST                             PO BOX 30660
PO BOX 183853                             PORTAGE MI 49024-4202                     LANSING MI 48909-8160
ARLINGTON TX 76096-3853




AARON CRAWFORD                            AIRGAS USA LLC                            (P)SAMI INVESTMENTS
10292 DRIFTBOAT LN                        6055 ROCKSIDE WOODS BLVD                  ALBION FINANCIAL INC
WEST OLIVE MI 49460-8848                  INDEPENDENCE OH 44131-2301                440 WEST CENTRE AVENUE
                                                                                    SUITE 1
                                                                                    PORTAGE MI 49024-5357
                     Case:24-01123-swd
USPS FIRST CLASS MAILING RECIPIENTS:          Doc #:211-1 Filed: 10/21/2024 Page 4 of 12
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.

                                                                                  EXCLUDE
ALISSA RAUWERDINK                        ALLAN PAEPKE                             (D)AMERICREDIT FINANCIAL SERVICES   INC
5818 EMBASSY ST                          17080 SENECA DR                          DBA GM
KALAMAZOO MI 49009-6253                  HOWARD CITY MI 49329-9329                P O BOX 183853
                                                                                  ARLINGTON TX 76096-3853




AMERICAN EXPRESS                         AMERICAN EXPRESS                         AMERICAN EXPRESS NATIONAL BANK
BUSINESS CENTURION CARD                  BUSINESS PLATINUM CARD                   CO BECKET AND LEE LLP
ATTN BANKRUPTCY                          ATTN BANKRUPTCY                          PO BOX 3001
PO BOX 981535                            PO BOX 981535                            MALVERN PA 19355-0701
EL PASO TX 79998-1535                    EL PASO TX 79998-1535




AMY HIGGINS                              AMY NIEKAMP                              ANDRE DRISKHL
16248 WABASH RD                          19 BERRETA DR                            305 E EUCLID AVE
WALDRON MI 49288-9501                    SHELBYVILLE MI 49344-9762                JACKSON MI 49203-4328




ARIN MCKELLAR                            ASK NICELY                               AUTO OWNERS INSURANCE
9616 RENTSMAN ST NE                      1615 SE 3RD AVE                          6101 ANACAPRI BLVD
CEDAR SPRINGS MI 49319-8951              FLOOR 3                                  LANSING MI 48917-3994
                                         PORTLAND OR 97214-2283




BARBARA HAWLEY                           BENJAMIN SANTORA                         BEST WAY DISPOSAL
14036 POPLAR AVE                         23512 12 12 MILE RD                      PO BOX 4040
GRANT MI 49327-9352                      BATTLE CREEK MI 49014-9123               KALAMAZOO MI 49003-4040




                                         EXCLUDE
BREEZE EALY                              (U)BRIAN L SPITLER                       BUTZEL LONG PC
2122 BOURDON ST                          5241 PLAINFIELD AVE NE                   150 WEST JEFFERSON SUITE 100
MUSKEGON MI 49441-1627                                                            DETROIT MI 48226-4452




BYRDS LANDING                            CALHOUN COUNTY TREASURER                 CED GREENTECH
220 HELMER RD N                          315 W GREEN ST                           2207 E 165TH ST
BATTLE CREEK MI 49037-7916               MARSHALL MI 49068-1518                   HAMMOND IN 46320-2904




CONSUMERS ENERGY COMPANY                 CALHOUN COUNTY CIRCUIT COURT             CALHOUN COUNTY CIRCUIT COURT
ATTN LEGAL DEPT                          CASE NO 202463CZ                         CASE NO 233197CB
ONE ENERGY PLAZA                         161 MICHIGAN AVE                         161 MICHIGAN AVE
JACKSON MI 49201-2357                    BATTLE CREEK MI 49014-4021               BATTLE CREEK MI 49014-4021




CARL HADDEN                              CATRYNA CAMPBELL                         CEREAL CITY BASEBALL
1407 LAWNDALE AVE                        19870 27 12 MILE RD                      189 BRIDGE ST
NILES MI 49120-4244                      ALBION MI 49224-9443                     BATTLE CREEK MI 49017-5303
                     Case:24-01123-swd
USPS FIRST CLASS MAILING RECIPIENTS:          Doc #:211-1 Filed: 10/21/2024 Page 5 of 12
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.


CEREAL CITY BASEBALL CLUB    LLC         CHAD WEHLER                               CHARLES BROCKWAY
CO PERRY G PASTULA                       658 WHITEFISH RD                          5201 CALLAHAN RD
2745 DEHOOP AVE SW                       SAND LAKE MI 49343-9736                   ALBION MI 49224-9197
WYOMING MI 49509-1867




                                         EXCLUDE
(P)JPMORGAN CHASE BANK N A               (U)CHRISTOPHER TAYLOR                     CITY OF PORTAGE
BANKRUPTCY MAIL INTAKE TEAM                                                        TREASURY OFFICE
700 KANSAS LANE FLOOR 01                                                           7900 S WESTNEDGE AVE
MONROE LA 71203-4774                                                               PORTAGE MI 49002-5117




CLIMAX CONSTRUCTION LLC                  CLIMAX LANDSCAPING LLC                    CLIMAX PLUMBING LLC
7017 S WESTNEDGE                         2725 AIRVIEW BLVD STE 301                 2450 W COLUMBIA AVE
PORTAGE MI 49002-4206                    PORTAGE MI 49002-1806                     BATTLE CREEK MI 49015-8639




CLIMAX WASTE MANAGEMENT LLC              CLINT VISSER                              COMMERCIAL ALLIANCE
2450 W COLUMBIA AVE                      7332 TAYLOR ST                            OF MICHIGAN LLC
BATTLE CREEK MI 49015-8639               HUDSONVILLE MI 49426-9525                 7127 S WESTNEDGE AVE
                                                                                   PORTAGE MI 49002-4276




CONNIE EHREDT                            CONSOLIDATED ELECTRICAL DISTRIBUTORS      CONSOLIDATED ELECTRICAL DISTRIBUTORS
128 ALVENA AVE                           INC                                       INC
BATTLE CREEK MI 49017-5202               DBA CED GREENTECH                         DBA CED GREENTECH
                                         C0 TROUTMAN PEPPER HAMILTON SANDERS LLP   CO TROUTMAN PEPPER HAMILTON SANDERS LLP
                                         4000 TOWN CENTER SUITE 1800               SUITE 1800 4000 TOWN CENTER
                                         SOUTHFIELD MI 48075-1505                  SOUTHFIELD MI 48075-1505




CONSOLIDATED ELECTRICAL DISTRIBUTORS     CONTINENTAL LINEN SERVICES                CORY OSBORN
INC                                      4200 MANCHESTER RD                        10025 REXFORD RD
CO KAY KRESS                             KALAMAZOO MI 49001-0835                   GRASS LAKE MI 49240-9768
TROUTMAN PEPPER HAMILTON SANDERS LLP
4000 TOWN CENTER SUITE 1800
SOUTHFIELD MI 48075-1505


EXCLUDE
(D)CORY OSBORN                           CRAINE WEINER                             CRYSTAL M RICE
10025 REXFORD RD                         ATTN JAMES NORRIS                         5490 BELLEVUE RD
GRASS LAKE MI 49240-9768                 5805 SEPULVEDA BLVD                       ONONDAGA MI 49264-9777
                                         4TH FLOOR
                                         VAN NUYS CA 91411-2532




CURTIS HOUCK                             DLL FINANCIAL SOLUTIONS                   DALE DAVIS
212 S 5TH ST                             PARTNER                                   10528 WARNER RD
EDMORE MI 48829-8403                     1111 OLD EAGLE SCHOOL RD                  CARSON CITY MI 48811-9682
                                         WAYNE PA 19087-1453




DALE WANKE                               DALES TREE SERVICE                        DALLAS MCCOY
5019 GENESEE RD                          27 N BUYS RD                              8599 E EATON HWY
FLINT MI 48506-1537                      MUSKEGON MI 49445-2217                    MULLIKEN MI 48861-9640
                     Case:24-01123-swd
USPS FIRST CLASS MAILING RECIPIENTS:          Doc #:211-1 Filed: 10/21/2024 Page 6 of 12
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.


DANA WIGTON                              DANIEL J HATCH                           DAVID BEELEN
2310 PIERCE ST                           BUTZEL LONG PC                           6864 112TH ST
FLINT MI 48503-6411                      300 OTTAWA AVE NW SUITE 620              HOLLAND MI 49424-9238
                                         GRAND RAPIDS MI 49503-2308




DAVID ROSE                               DAVID SEBENICK                           DENIS BUMPUS
5115 RIVES EATON RD                      795 N WEST RD                            18973 DOYLE CT
RIVES JUNCTION MI 49277-9672             LAINGSBURG MI 48848-9368                 GREGORY MI 48137-9511




DENNIS KONZEN                            DEPARTMENT OF THE TREASURY               DUANE HERBERT
450 TREASURE ISLAND                      INTERNAL REVENUE SERVICE                 10505 W VAN ORDEN RD
MATTAWAN MI 49071-9470                   PO BOX 7346                              FOWLERVILLE MI 48836-9234
                                         PHILADELPHIA PA 19101-7346




DUANE TRAVIOLI                           EGO STUDIOS LLC                          EDWARD BROWN
7786 BROOKLYN RD                         DBA SIGNS BY EGO                         58650 RUMSEY RD
JACKSON MI 49201-7265                    CO IAN SCHOFIELD                         THREE RIVERS MI 49093-9402
                                         7125 CAPRI STREET
                                         PORTAGE MI 49002-9414




ELEMENT 22 COMMERCIAL GROUP              ELKE FORYSTEK                            ERIC DREW
2425 S 11TH ST                           4960 SHEPPER RD                          13406 TUSCOLA RD
SUITE D                                  STOCKBRIDGE MI 49285-9461                CLIO MI 48420-1851
KALAMAZOO MI 49009-2113




ETNA DISTRIBUTORS LLC                    FAYLENE NAUSADIS                         FIELDS LAWN CARE AND
CO NCS                                   2057 FOREST LN                           MAINTENANCE
729 MINER ROAD                           NEWAYGO MI 49337-9257                    1101 N EDWARDS
HIGHLAND HEIGHTS OH 44143-2117                                                    KALAMAZOO MI 49007-3509




FIRE PROS                                FLORIDA DEPARTMENT OF REVENUE            FRANK WEINBRECHT
2710 NORTHRIDGE DR NW                    FREDERICK F RUDZIK ESQ                   3112 N M43
GRAND RAPIDS MI 49544-9112               PO BOX 6668                              HASTINGS MI 49058-7943
                                         TALLAHASSEE FL 32314-6668




GM FINANCIAL                             GM FINANCIAL                             GM FINANCIAL
4001 EMBARCADERO                         PO BOX 1510                              PO BOX 183123
ARLINGTON TX 76014-4106                  COCKEYSVILLE MD 21030-7510               ARLINGTON TX 76096-3123




GLEN BOLF                                GLORIA POWELL                            GORDON WATER SYSTEMS
10043 SHERIDAN                           2641 SENICA ST                           618 E CROSSTOWN PKWY
BURT MI 48417-9759                       FLINT MI 48504-7132                      KALAMAZOO MI 49001-2502
                     Case:24-01123-swd
USPS FIRST CLASS MAILING RECIPIENTS:          Doc #:211-1 Filed: 10/21/2024 Page 7 of 12
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.


GREAT LAKES CULINARY DESIGNS             GREGORY CASTERLINE                       HL PLC DBA HENN LESPERANCE PLC
24101 W 9 MILE RD                        897 CANRIGHT ST                          32 MARKET AVE SUITE 400
SOUTHFIELD MI 48033-3972                 BATTLE CREEK MI 49037                    ATTN KATE BOGUS COO CFO
                                                                                  GRAND RAPIDS MI 49503-4065




HONOR CREDIT UNION                       HALLMAN WINDOW WASHING                   HAROLD EMENS
CO BUTLER ROWSEOBERLE PLLC               48485 MEADOW OAK TRL                     11591 SEELEY RD
24525 HARPER AVENUE                      MATTAWAN MI 49071-8614                   WALDRON MI 49288-9729
ST CLAIR SHORES MI 48080-1286




HENN LESPERANCE                          HIRA KAYANI                              (P)HONOR CREDIT UNION
32 MARKET AVE SW SUITE 400               55 ORRAWA AVE SW                         ATTN CREDIT SOLUTIONS
GRAND RAPIDS MI 49503-4065               906                                      8385 EDGEWOOD ROAD
                                         GRAND RAPIDS MI 49503                    BERRIEN SPRINGS MI 49103-9004




HUE MARTIN ROBINSON                      IIX (VERISK)                             IMPACT RADIO LLC
1053 BURTON ST SE                        GENERAL POST OFFICE BOX                  59750 CONSTANTINE RD
GRAND RAPIDS MI 49507-3358               PO BOX 27828                             THREE RIVERS MI 49093-9303
                                         NEW YORK NY 10087-7828




                                         EXCLUDE                                  EXCLUDE
JM HOME IMPROVEMENT LLC                  (D)(P)JPMORGAN CHASE BANK N A            (D)(P)JPMORGAN CHASE BANK N A
320 FULLER ST                            BANKRUPTCY MAIL INTAKE TEAM              BANKRUPTCY MAIL INTAKE TEAM
NASHVILLE MI 49073-9769                  700 KANSAS LANE FLOOR 01                 700 KANSAS LANE FLOOR 01
                                         MONROE LA 71203-4774                     MONROE LA 71203-4774




JPMORGAN CHASE BANK NA                   JAMES FROEHLICH                          JAMES HERBERT
SBMT CHASE BANK USA NA                   14266 8 MILE RD                          2718 BRANCH RD
CO NATIONAL BANKRUPTCY SERVICES   LLC    STANWOOD MI 49346-9388                   FLINT MI 48506-2919
PO BOX 9013
ADDISON TEXAS 75001-9013




JAMES POMAVILLE                          JAMES SAUNDERS                           JAMES WORKMAN
9 E SALZBURG RD                          3569 W JEFFERSON RD                      8880 SPICERVILLE HWY
BAY CITY MI 48706-9712                   PENTWATER MI 49449-9734                  EATON RAPIDS MI 48827-8903




JAMORUS CAMPBELL                         JAN LOVEJOY                              JASON DIEBEL
2018 WHITTLESEY ST                       876 ELY ST                               4701 BAILEY BRIDGE RD
FLINT MI 48503-4349                      ALLEGAN MI 49010-1543                    CHASE MI 49623




JASON STEINHAUS                          JEAN SANTIAGO                            JEANNE COLLINGS
286 EDGEWOOD DR                          640 N 12TH ST                            2479 DUMONT RD
JACKSON MI 49201-9642                    NILES MI 49120-2512                      ALLEGAN MI 49010
                     Case:24-01123-swd
USPS FIRST CLASS MAILING RECIPIENTS:          Doc #:211-1 Filed: 10/21/2024 Page 8 of 12
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.


JEREMY KLINE                             JEREMY MICHAEL KLINE                     JIM WELLMAN
302 N MADISON ST                         302 N MADISON ST 123                     9851 MCDONALED RD
PERRY MI 48872-8177                      PERRY MI 48872-8177                      PARMA MI 49269-9742




JOHN BOWSHER                             JOHN GRETKA                              JOHN ROGERS
9777 E ML AVE                            10889 N GILMORE RD                       1730 MICHAEL DR
GALESBURG MI 49053-9627                  FARWELL MI 48622-9279                    ALGER MI 48610-9399




JOHN WILLFORD                            JORDAN VALASEK                           JOSEPH HOFFERT
4205 WILLFORD RD                         4217 SMITH RD                            35558 MARGURITE LN
GLADWIN MI 48624-9468                    OTTAWA LAKE MI 49267                     PAW PAW MI 49079-8836




                                                                                  EXCLUDE
JOSHUA L THOMPSON                        JOSHUA L THOMPSON                        (D)JOSHUA L THOMPSON
13772 E MN AVE                           13772 EAST MN AVE                        13772 EAST MN AVE
CLIMAX MI 49034-9643                     CLIMAX MI 49034-9643                     CLIMAX MI 49034-9643




JOSHUA THOMPSON                          JOSHUA THOMPSON                          JUDY BROWN
13772 E MN AVENUE                        13772 EAST MN AVE                        1247
CLIMAX MI 49034-9643                     CLIMAX MI 49034-9643                     CARR RD
                                                                                  MUSKEGON MI 49442-4723




KDP RETIREMENT PLAN SVCS INC             KALAMAZOO BASEBALL CLUB    LLC           KALAMAZOO BASEBALL LLC
PO BOX 120190                            CO PERRY G PASTULA                       251 MILLS ST
GRAND RAPIDS MI 49528-0104               2745 DEHOOP AVE SW                       KALAMAZOO MI 49048-2434
                                         WYOMING MI 49509-1867




KAREN LUKS                               KAREN THOMAS                             KATHLEEN HARRIS
2122 BARSTOW                             8025 S LOOMIS RD                         229 GRAND ST
LANSING MI 48906-3856                    DEWITT MI 48820-9752                     SPRINGPORT MI 49284




KATHLEEN WILLIAMS                        KEILEN LAW PLC                           LAFCU
3820 S WAVERLY RD                        141 E MICHIGAN AVE                       106 N MARKETPLACE BLVD
EATON RAPIDS MI 48827-9775               SUITE 602                                LANSING MI 48917-7753
                                         KALAMAZOO MI 49007-3943




LAFCU                                    LI PLACEHOLDER                           LAMONT CLARK
CO RICHARD PRASNICKI                     REIMBURSABLE EXPENSES LI                 255 ONEITA ST N
1607 E BIG BEAVER RD STE 201             SEE BALANCE SHEET                        BATTLE CREEK MI 49037-2461
TROY MICHIGAN 48083-2068                 PORTAGE MI 49002
                     Case:24-01123-swd
USPS FIRST CLASS MAILING RECIPIENTS:          Doc #:211-1 Filed: 10/21/2024 Page 9 of 12
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.


LIEU SABIN                               LISA SWILLEY                             LOCKHART MANAGEMENT
11968 S GROVER LN                        5455 HARVARD ST                          2725 AIRVIEW BLVD
BALDWIN MI 49304-7619                    FLINT MI 48505                           SUITE 202
                                                                                  PORTAGE MI 49002-1805




LOCKHART MANAGEMENT CONSULTING LLC       LOTTE FAY AIKENSJONES                    LYLE KENDRICK
HONIGMAN LLP ATTN SCOTT B KITEI          519 CRESTON ST                           2998 LYONS RD
660 WOODWARD AVE                         MUSKEGON MI 49442-2222                   OWOSSO MI 48867-9167
2290 FIRST NATIONAL BUILDING
DETROIT MI 48226-3506




M DEWEY LLC                              MI PRINTWORKS                            MANNY REYES
CO OWEN D RAMEY                          509 MILLS ST                             6113 KENBROOK RD
136 E MICHIGAN AVE STE 800               KALAMAZOO MI 49001-2530                  LANSING MI 48911-5419
KALAMAZOO MI 49007-3914




MARK GRIFFEN                             MARVIN HUSTON (SMITH)                    MARY ALPHENAAR
1214 MARTHA CT                           55214 COUNTY ROAD 687                    7326 OWEN DR
ALLEGAN MI 49010-9094                    HARTFORD MI 49057-8841                   KALAMAZOO MI 49009-8878




MATTHEW LYSTER                           MATTHEW SANDERSON                        MEGAN OVERLEY
3550 WESTCOVE DR                         12948 RIVERSIDE DR                       241 SIGEL AVE
PORTAGE MI 49024-1080                    CONSTANTINE MI 49042-9711                BATTLE CREEK MI 49037-1454




MELISSA STAMM                            MERRITTE NYE                             MICAHEL HIEMSTRA
4230 E X AVE                             1512 BRADY AVE                           177 S EAST ST
VICKSBURG MI 49097-8737                  BURTON MI 48529-2012                     FREEPORT MI 49325-9739




MICHAEL DEFORREST                        MICHAEL I ZOUSMER ESQ                    MICHAEL JOBUSCH
2427 N 33RD ST                           ZOUSMER LAW GROUP PLC                    6589 SHERMAN RD
GALESBURG MI 49053-9445                  4190 TELEGRAPH RD SUITE 3000             FOUNTAIN MI 49410-9736
                                         BLOOMFIELD HILLS MI 48302-2082




MICHAEL ZOUSMER                          MICHELE WEAVER                           MICHIGAN HOME PROS
ZOUSMER LAW GROUP PLC                    14745 22 12 MILE RD                      10879 WEST MT HOPE HWY
4190 TELEGRAPH RD SUITE 3000             MARSHALL MI 49068-9379                   VERMONTVILLE MI 49096-9760
BLOOMFIELD HILLS MI 48302-2082




MILES HAGGADONE                          MILLERS WHOLESALE INC                    MULLER BAATENBURG WILSON
9475 LAKE RD                             2450 W COLUMBIA AVE                      LAW GROUP PC
MONTROSE MI 48457-9715                   BATTLE CREEK MI 49015-8639               979 SPAULDING AVE SE STE B
                                                                                  ADA MI 49301-3706
                    Case:24-01123-swd
USPS FIRST CLASS MAILING RECIPIENTS:         Doc #:211-1 Filed: 10/21/2024 Page 10 of 12
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.


MYFLEETCENTERCOM                         NATHAN DAVIDSON                          NOAH DAVY
PO BOX 620130                            19 HIGHLAND AVE                          13770 MASON DR
MIDDLETON WI 53562-0130                  BATTLE CREEK MI 49015-2609               GRANT MI 49327-9680




OFFICE OF THE US TRUSTEE                 ORAN SPARKS                              PATRICIA SIMS
125 OTTAWA STREET SUITE 200R             471 TERRACE CT                           340 BERTHA ST NW
GRAND RAPIDS MI 49503-2865               KALAMAZOO MI 49001-2973                  COMSTOCK PARK MI 49321-9105




PAUL FATH                                PEARL CERTIFICATION                      (P)PEOPLE DRIVEN CREDIT UNION
3739 LAURIA RD                           9450 SW GEMINI DR                        ATTN COLLECTIONS
BAY CITY MI 48706-8113                   PMB 83738                                24333 LAHSER RD
                                         BEAVERTON OR 97008-7105                  SOUTHFIELD MI 48033-6041




PEOPLE DRIVEN CREDIT UNION               PILLARS AUTO GLASS LLC                   PLAYFLY LLC
ATTN RICHARD PRASNICKI                   486 105TH AVE                            CO MSU SPORTS PROPERTIES
1607 E BIG BEAVER RD STE 201             PLAINWELL MI 49080-9575                  PO BOX 743049
TROY MICHIGAN 48083-2068                                                          LOS ANGELES CA 90074-3049




PRIORITY HEALTH                          PRISCILLA BATHGATE                       QUALITY PLUMBING DRAIN
1231 EAST BELTLINE AVE NE                69573 EISENHOWER RD                      2450 COLUMBIA AVE W
MS 1340                                  STURGIS MI 49091-9564                    BATTLE CREEK MI 49015-8639
GRAND RAPIDS MI 49525-4596




RACHEL MINICHINO                         RANDY HERMATZ                            REACH OUTDOOR
1321 WARREN AVE                          5019 E WILSON RD                         8982 COMPAS PT CR
JACKSON MI 49203-3731                    REDFORD MI 48240                         GALESBURG MI 49053-8769




REACH OUTDOOR LLC                        RHONDA MILLER                            RICHARAD BREEN
8982 COMPASS POINT CIRCLE                700 MEADOWBROOK DR                       6650 N STONE RD
GALESBURG MI 49053-8769                  HUDSON MI 49247-9734                     HESPERIA MI 49421-9219




RICHARD ZILKE                            RICK JAQUAY                              ROB PEARSALL
11579 LAKEVIEW DR                        119 W LOCKWOOD RD                        9784 ONSTED HWY
BROOKLYN MI 49230-9337                   COLDWATER MI 49036-9755                  ONSTED MI 49265-9707




ROBERT HULL                              ROBERT SNOW                              ROGER JAMIE CREE
515 MCCLINTOCK ST                        9285 HUCKLEBERRY RD                      15630 S 22ND ST
LAINGSBURG MI 48848-9761                 BERRIEN CENTER MI 49102-9736             VICKSBURG MI 49097-9787
                    Case:24-01123-swd
USPS FIRST CLASS MAILING RECIPIENTS:         Doc #:211-1 Filed: 10/21/2024 Page 11 of 12
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.


ROGER BUCK                               ROGER SCHULTZ                            ROGER SUGG
3257 W HOLMES RD                         3208 ROMENCE RD                          11441 HOGAN RD
LANSING MI 48911                         PORTAGE MI 49024-4057                    GAINES MI 48436-9618




ROGER WALDO                              RONALD BARNES                            SANDRA KOEHLER
4517 LILY CT                             1955 CAMPGROUND RD                       3708 PONTIAC AVE
WHITE CLOUD MI 49349-8756                HASTINGS MI 49058-9356                   KALAMAZOO MI 49006-2077




SCOTT ANDREWS                            SCOTT KUKAL                              SCOTT MUELLER
10064 IOSCO RD                           1441 SWAIN ST                            5241 PLAINFIELD AVE NE STE C
FOWLERVILLE MI 48836-9274                WHITE CLOUD MI 49349-9206                GRAND RAPIDS MI 49525-1060




SCOTT PAULBONHAM                         SEAN HEPHNER                             SHANE HARLAN
300 LAKE CT                              14228 BEECHER RD                         1562 LONGMONT AVE NW
SAINT JOSEPH MI 49085-1632               HUDSON MI 49247-8205                     GRAND RAPIDS MI 49504




SHANNON BANKS                            SHIRLEY STANSBERRY                       SPECTRUM
4764 N EASTMAN RD                        986 S BENTON CENTER RD                   1600 DUBLIN RD
MIDLAND MI 48642-8252                    BENTON HARBOR MI 49022-9808              COLUMBUS OH 43215-2098




                                                                                  EXCLUDE
STACY CREED                              STAR2STAR COMMUNICATIONS LLC             (U)STELLANTIS FINANCIAL SERVICES
617 MCDONALD AVE                         PO BOX 97231
FLINT MI 48507-2777                      LAS VEGAS NV 89193-7231




(P)STENSON TAMADDON LLC                  STENSON TAMADDON LLC                     STEVEN HOOVEN
ATTN ATTN CO BEN DARCHE AGC              CO LANE AND NACH PC                      4738 KAREL JEAN CT SW
1 NORTH CENTRAL                          2001 E CAMPBELL AVENUE   103             WYOMING MI 49519-4529
STE 1030                                 PHOENIX AZ 85016-5573
PHOENIX AZ 85004-4407




STEVEN MCCLURG                           SUNLIGHT FINANCIAL                       SUNPOWER
695 PEMBERTON LN                         234 WEST 39TH ST                         PO BOX 742368
JACKSON MI 49203-7126                    7TH FLOOR                                LOS ANGELES CA 90074-2368
                                         NEW YORK NY 10018-4945




(P)T MOBILE                              TAMARA BROTT                             TAMEKA STINSON
C O AMERICAN INFOSOURCE LP               1653 4TH ST NW                           4805 WEST HOME AVE
4515 N SANTA FE AVE                      GRAND RAPIDS MI 49504-4811               FLINT MI 48504
OKLAHOMA CITY OK 73118-7901
                    Case:24-01123-swd
USPS FIRST CLASS MAILING RECIPIENTS:         Doc #:211-1 Filed: 10/21/2024 Page 12 of 12
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.


TEAM FINANCIAL GROUP INC                 THE COMPUTER GUILD                       THOMAS RICE
650 3 MILE RD NW                         3400 WESTNEDGE AVE                       5490 BELLEVUE RD
SUITE 200                                KALAMAZOO MI 49008-2970                  ONONDAGA MI 49264-9777
GRAND RAPIDS MI 49544-1624




TONDA WHITE                              TOWNSQUARE MEDIA                         TYLER FREESE
287 INDIAN LAKES RD NE                   OF BATTLE CREEKKALAMAZOO                 21700 W GARY RD
SPARTA MI 49345                          27139 NETWORK PLACE                      BRANT MI 48614-8798
                                         CHICAGO IL 60673-1271




TYLER MACOMBER                           TYLER MACOMBER                           URBAN SOLAR
11661 BEAR MEADOWS DR SE                 11661 E BEAR MDWS DR SE                  990 S ROGERS CIRCLE
ALTO MI 49302-9083                       ALTO MI 49302-9083                       SUITE 4
                                                                                  BOCA RATON FL 33487-2836




VANDERVOORT CHRIST FISHER                VENEM LLC                                VERNON BAUER
ATTN NELSON KARRE                        7017 S WESTNEDGE AVE                     3101 N WOODRUFF RD
70 MICHIGAN AVE WEST                     PORTAGE MI 49002-4206                    WEIDMAN MI 48893-9701
SUITE 450
BATTLE CREEK MI 49017-3638




WALDO ENTERPRISES                        WELLS FARGO BANK NA                      WELLS FARGO COMMERCIAL
122 SOUTH RIVER STREET                   ATTN BANKRUPTCY                          DISTRIBUTION FINANCE LLC
EATON RAPIDS MI 48827-1331               PO BOX 10347                             5595 TRILLIUM BLVD
                                         DES MOINES IA 50306-0347                 HOFFMAN ESTATES IL 60192-3405




WELLS FARGO EQUIP FINANCE                WELLS FARGO VENDOR FINANCIAL SERVICES    WHARRY ENGINEERING
CUSTOMER CARE                            LLC                                      427 CAPITAL AVE SW
PO BOX 3072                              ATTN LA NEICE BROWN                      BATTLE CREEK MI 49015-2554
CEDAR RAPIDS IA 52406-3072               800 WALNUT STREET MAC F0005-055
                                         DES MOINES IA 50309-3891




WHIP AROUND                              WHIP AROUND                              ANDREW L MITCHELL
1650 N COAST HIGHWAY 101                 6302 FAIRVIEW RD                         ANDREW L MITCHELL INC
ENCINITAS CA 92024-1020                  309                                      1485 NARLOCK RD
                                         CHARLOTTE NC 28210-2234                  CEDAR MI 49621-9760




JAMES R OPPENHUIZEN                      JOHN W POLDERMAN                         JOSHUA L THOMPSON
OPPENHUIZEN LAW FIRM PLC                 SIMON PLC ATTORNEYS COUNSELORS           CO CBH ATTORNEYS COUNSELORS PLLC
125 OTTAWA AVE NW                        363 W BIG BEAVER ROAD                    25 DIVISION AVENUE S
SUITE 237                                SUITE 410                                SUITE 500
GRAND RAPIDS MI 49503-2850               TROY MI 48084-5300                       GRAND RAPIDS MI 49503-4233



EXCLUDE
(D)KATHLEEN WILLIAMS                     KELLY M HAGAN                            (P)OFFICE OF THE U S TRUSTEE
3820 S WAVERLY RD                        KELLY M HAGAN CHAPTER 7 TRUSTEE          ATTN KENNETH G LAU TRIAL ATTORNEY
EATON RAPIDS MI 48827-9775               PO BOX 384                               125 OTTAWA AVENUE NW
                                         ACME MI 49610-0384                       SUITE 200R
                                                                                  GRAND RAPIDS MI 49503-2837
